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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       8:05CR183
       vs.                                             )
                                                       )       PRELIMINARY ORDER
MARIA PARTIDA,                                         )       OF FORFEITURE
                                                       )
                       Defendant.                      )

       This matter is before the Court on the United States' Motion for Issuance of Preliminary

Order of Forfeiture and Memorandum Brief (Filing No. 38). The Court reviews the record in this

case and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement, whereby she has agreed to plead guilty

to Counts I and VI of said Indictment. Count I of said Indictment charges the Defendant with

conspiracy to distribute cocaine, a violation of 21 U.S.C. § 846. Count VI of said Indictment charges

the Defendant with using $2,815.00 in United States currency to facilitate the commission of the

conspiracy and charges said personal property is derived from proceeds obtained directly or

indirectly as a result of the commission of the conspiracy.

       2. By virtue of said plea of guilty, the Defendant forfeits her interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 21 U.S.C. § 853.

       IT IS THEREFORE ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing No. 38)

is hereby sustained.
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        B. Based upon Count VI of the Indictment and the Defendant's plea of guilty, the United

States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize the following-

described property: $2,815.00 in United States currency

        C. The Defendant's interest in said property is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

        D. The aforementioned forfeited property is to be held by the Marshal in his secure custody

and control.

        E. Pursuant to 21 U.S.C. § 853(n)(1), the Marshal forthwith shall publish at least once for

three successive weeks in a newspaper of general circulation, in the county where the subject

property is situated, notice of this Order, notice of the Marshal's intent to dispose of the property in

such manner as the Attorney General may direct, and notice that any person, other than the

Defendant, having or claiming a legal interest in any of the subject forfeited property must file a

Petition with the court within thirty (30) days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.




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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       ORDERED this 28th day of October, 2005.


                                                        BY THE COURT:

                                                        s/ Laurie Smith Camp
                                                        United States District Judge




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